       Case 3:19-bk-30822           Doc 103 Filed 09/16/19 Entered 09/16/19 16:42:56                   Desc
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Form a0nproc5
(Rev. 07/12)

                                          United States Bankruptcy Court
                                             Southern District of Ohio
                                               120 West Third Street
                                             Dayton, OH 45402−1819


In     Tagnetics Inc.                                     Case No.: 3:19−bk−30822
Re:
                Debtor(s)                                 Chapter: 7
SSN/TAX ID:
       20−0173720                                         Judge: Guy R Humphrey




                              Notice of Failure to Comply With ECF Procedure 5 And
                            Order Preserving Initial Filing Date Upon Timely Compliance



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                                Tagnetics' Motion to Enforce Settlement Agreement


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   IT IS SO ORDERED.



Dated: September 16, 2019

                                                          /s/ BY THE COURT
